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                                UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF SOUTH CAROLINA


IN RE:                                               CASE NO: 18-02746-dd

Leslie Toller                                        CHAPTER: 7

                             DEBTOR(S)

Address: 3443 Claremont Street                        NOTICE AND APPLICATION FOR SALE OF
Mount Pleasant, SC 29466                               PROPERTY FREE AND CLEAR OF LIENS

Last four digits of Social-Security: 2235


TO: All Creditors and Parties in Interest

Kevin Campbell, Chapter 7 Bankruptcy Trustee, has filed papers with the court to obtain approval to sell
the property of the debtor's estate described below free and clear of all liens and encumbrances
according to the terms and conditions stated below.

     Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may
wish to consult one.)

      If you do not want the court to approve the sale of the property, or you want the court to consider
your views on the application, then within twenty-one (21) days of service of this notice, you or your
attorney must:

      File with the court a written response, return, or objection at:

         1100 Laurel Street
         Columbia, SC 29201

       Responses, returns, or objections filed by an attorney must be electronically filed in
ecf.scb.uscourts.gov.

      If you mail your response, return, or objection to the court for filing, you must mail it early enough
so the court will receive it on or before the date stated above.

      You must also send a copy to:

      KEVIN CAMPBELL, TRUSTEE, Post Office Box 684, Mt. Pleasant, SC 29465

     Attend the hearing scheduled to be heard on December 18, 2018, at 9:00 a.m. at the United States
Bankruptcy Court, 145 King Street, Suite 225, Charleston, South Carolina.

       If no response, return, and/or objection is timely filed and served, no hearing will be held on this
application, except at the direction of the judge.

        If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the application and may enter an order granting that relief.




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TYPE OF SALE: Private Sale.

PROPERTY TO BE SOLD: The Estate’s interest in real property known as 11920 Field Towne Ln.
Raleigh, NC 27614.

        NOTICE: THE TRUSTEE IS SELLING THE ABOVE-REFERENCED PROPERTY “AS IS,” WITHOUT ANY
        WARRANTIES WHATSOEVER INCLUDING, BUT NOT LIMITED TO, WARRANTY AS TO TITLE. THE BUYER
        AGREES TO RECEIVE THE PROPERTY WITH ALL FAULTS. THE TRUSTEE MAKES NO WARRANTY,
        EXPRESS OR IMPLIED, REGARDING THE PROPERTY, AND SPECIFICALLY EXCLUDES ANY IMPLIED
        WARRANTY OF MERCHANTABILITY AND ANY IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR USE
        OR PURPOSE. THE BUYER SHOULD HAVE THE TITLE TO THE PROPERTY RESEARCHED BEFORE THE
        CONSUMMATION OF THE SALE. THE TRUSTEE DOES NOT PROVIDE LIEN OPINIONS. THE BUYER HAS
        BEEN GIVEN THE OPPORTUNITY TO EXAMINE THE PROPERTY BEFORE SIGNING ANY CONTRACT OR
        SUBMITTING A BID TO PURCHASE THE PROPERTY, AND TO PERFORM SUCH TESTING, IF APPLICABLE,
        TO DETECT POSSIBLE LATENT DEFECTS.


PRICE: $180,000.00 cash or certified funds.

APPRAISAL VALUE: $180,000.00 per Trustee’s real estate agent.

BUYER: Mahmoud Ibrahiem, or his assigns, whose address is 2629 Vega Court , Raleigh, NC 27614
(The buyer is a good faith purchaser for value under §363(m) and does not have any known
adverse interest in this case or any parties involved in this case, including the Debtor, Debtor’s
counsel and the U.S. Trustee’s office. The Buyer is not a creditor of the Debtor).

PLACE AND TIME OF SALE: This sale shall take place as soon as possible following the entry of the
Order Approving the Sale by the U.S. Bankruptcy Court at a date, place and time to be agreed upon
by the parties.

SALES AGENT/AUCTIONEER/BROKER: The Real Estate Broker is BK Global Real Estate Services
(“BKRES”), whose address is 1095 Broken Sound Parkway, N.W., Suite 100, Boca Raton, FL 33487
and whose telephone number is (561) 206-0067. The licensed Local Listing Agent is Referral Realty
US LLC whose address is 208 Bayleaf Dr, Raleigh, NC 27615 and whose telephone number is 919-
422-9677.

COMPENSATION TO SALES AGENT/AUCTIONEER/BROKER/ETC.: $10,800.00 or approximately 6%
to be paid by the lender’s portion of the sale proceeds. BKRES will pay Referral Realty US LLC from
its 6% commission.

ESTIMATED TRUSTEE'S COMPENSATION: Reasonable compensation to be determined by the Court
(but not to exceed the limits set in 11 U.S.C. § 326(a)).

EXPENSES OF SALE: Normal Seller’s closing costs estimated to be $3,600, being approximately 2%
of the gross sale price. The Trustee will be appointing Brady and Kosofsky, PA as Special Counsel
(Seller’s closing attorney) at flat fee of $300.00 to be paid at closing. The Chapter 7 Trustee will also
be reimbursed for the $181.00 filing fee paid by him to the U.S. Bankruptcy Court for the District of
South Carolina.

LIENS/MORTGAGES/SECURITY INTERESTS ENCUMBERING PROPERTY: The sale is free and clear
of all liens, encumbrances and judgments. This sale is subject to any easements, covenants or
restrictions of record. There is a valid first mortgage lien held against this real property by STATE
EMPLOYEEES CREDIT UNION in the approximate amount of $124,551.74. This obligation shall be




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paid in full at closing. The actual pay-off, including any accrued interest, fees or other charges, shall
be confirmed in writing from the lender, before closing.

The Trustee is informed and believes the monthly HOA fees owed to KINGSTON AT WAKEFIELD
PLANTATION HOA are approximately $2,535.00. This obligation shall be paid in full at closing. The
actual pay-off, including any accrued interest, fees or other charges, shall be confirmed before
closing.

The Trustee is informed and believes the yearly HOA fees owed to WAKEFIELD PLANTATION HOA
are approximately $350.00. This obligation shall be paid in full at closing. The actual pay-off,
including any accrued interest, fees or other charges, shall be confirmed before closing.

The net amounts could increase or decrease depending on the final payoffs and actual closing costs
determined at closing.

The Trustee is not aware of any other liens, judgments, or other encumbrances. To the extent they
may exist, they are disputed and they shall attach to the estate’s interest in the net sale of proceeds
pursuant to 11 U.S.C. §363(f)(4).

A certified copy of the Order approving the sale may be filed with the appropriate clerk and/or
recorded with the recorder to cancel any liens and other encumbrances of record as provided for in
this notice.

DEBTOR'S EXEMPTION: The Debtor claimed an exemption of $5,600.00. The Trustee is informed
and believes the Debtor waived exemption in the property pursuant to the Notice of Settlement
filed 11/08/2018.

PROCEEDS ESTIMATED TO BE PAID TO ESTATE: Approximately $37,000.00, depending on final
payoff amounts and closing costs.

Applicant is informed and believes that it would be in the best interest of the estate to sell said
property by private sale. Applicant also believes that the funds to be recovered for the estate from
the sale of said property justify its sale and the filing of this application.

The Court may consider additional offers at any hearing held on this notice and application for
sale. The Court may order at any hearing that the property be sold to another party on equivalent
or more favorable terms.

The trustee may seek appropriate sanctions or other similar relief against any party filing a
spurious objection to this notice and application.

WHEREFORE, applicant requests the Court issue an order authorizing sale of said property and
such other and further relief as may be proper.

                                                        /s/ Kevin Campbell
                                                        KEVIN CAMPBELL, TRUSTEE
                                                        Post Office Box 684
                                                        Mt. Pleasant, SC 29465
                                                        (843) 884-6874/884-0997(fax)
Mt. Pleasant, SC                                        District Court ID No. 30
Dated: November 9, 2018                                 kcampbell@campbell-law-firm.com



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                            DEBTOR(S)

Address: 3443 Claremont Street                               CERTIFICATE OF MAILING
Mount Pleasant, SC 29466

Last four digits of Social-Security: 2235



       I, Suzanne Chisholm, attorney for the Chapter 7 Trustee, hereby certify that I have this day
mailed a true and correct copy of the following:

                                  Notice of sale and Proposed Order

by United States Postal Service, to the following parties:


1. SEE ATTACHED MAILING MATRIX
2. Mahmoud Ibrahiem, or his assigns, whose address is 2629 Vega Court , Raleigh, NC 27614


                                                /s/ Suzanne Chisholm
                                                Suzanne Chisholm
                                                Campbell Law Firm, P.A.
                                                Post Office Box 684
                                                Mount Pleasant, SC 29465
                                                Phone No.: (843) 884-6874
                                                Facsimile No.: (843)884-0997
                                                Scampbell@campbell-law-firm.com


Dated: November 9, 2018




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